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14                                  UNITED STATES DISTRICT COURT
15                                NORTHERN DISTRICT OF CALIFORNIA
16                                        SAN FRANCISCO DIVISION
17 MAXIMILIAN KLEIN, et al.,                               Case No. 20-cv-08570-JD
18           Plaintiffs,                                   Hon. James Donato
19         v.                                              EXHIBIT 15: EXCEL SPREADSHEET
20 META PLATFORMS, INC.,                                   FILED UNDER SEAL
21           Defendant.
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          Exhibit 15 to the Declaration of Brian J. Dunne (Manual Filing Notification)– Case No. 20-cv-08570-JD
         Case 3:20-cv-08570-JD Document 753-16 Filed 04/05/24 Page 2 of 3




 1                    MANUAL FILING NOTIFICATION (FILING UNDER SEAL)

 2

 3 Regarding:        EXHIBIT 15 to the DECLARATION OF BRIAN J. DUNNE

 4

 5 This filing is in paper or physical form only, and is being maintained under seal in the case file in

 6 the Clerk’s office. If you are a participant in this case, this filing will be served in hard-copy shortly.

 7 For information on retrieving this filing directly from the court, please see the court’s main web site

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15 ___ Conformance with the Judicial Conference Privacy Policy (General Order 53)

16 ___ Other (please describe):

17

18   Dated: April 5, 2024                                             Respectfully submitted,

19                                                                    By: /s/ Brian J. Dunne
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